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4       coleman@watsonllp.com

5                             UNITED STATES DISTRICT COURT

6
                               MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
7
                                          §
8       UNITED STATES OF AMERICA, ex rel. §
        BARBARA BERNIER,                  §
9                                         §
              Plaintiff,                  §     Case No.: 6:16-cv-00970-RBD-TBS
10                                        §
             vs.                          §
11
                                          §     MEMORANDUM OF LAW IN
        INFILAW CORPORATION;              §     OPPOSITION TO MOTION TO
12
        CHARLOTTE SCHOOL OF LAW, LLC, §         DISMISS AMENDED COMPLAINT
13                                        §
                   Defendants.            §
14                                        §
                                          §
15                                        §

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         MEMORANDUM OF LAW IN OPPOSITION TO MOTION TO              WATSON LLP
         DISMISS AMENDED COMPLAINT - 1                        189 S. Orange Avenue, Suite 810
                                                                     Orlando, FL 32801
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                 Relator, BARBARA BERNIER, pursuant to M.D. Fla. R. 3.01(b), files this

3       memorandum of law in opposition to the motion to dismiss amended complaint, Doc. 53,

4       served by Defendants, INFILAW CORPORATION (“Infilaw”) and CHARLOTTE

5       SCHOOL OF LAW, LLC (“CSOL”), and states as follows:1

6       I.       INTRODUCTION
7                Defendants do not argue against the allegations that are actually alleged in the
8
        amended complaint; instead, they argue against what they would like them to be. To
9
        touch the issue squarely on the chest, the motion to dismiss is nothing more than
10
        Defendants’ delicate attempt to use a scalpel to dissect certain facts, out of context, to
11
        have this court conclude that Bernier is merely a stranger to the allegations in the lawsuit
12
        who seeks to capitalize on Defendants’ fraud, pursuant to the award provisions of the
13
        False Claims Act, 29 U.S.C. § 3729, et seq. (the “FCA”). This, of course, is divorced
14
        from the facts that are actually alleged in amended complaint. The motion to dismiss is
15

16      due to be denied, or alternatively, the court should grant leave to amend.

17      II.      BACKGROUND

18               Infilaw and CSOL are both for-profit corporation entities involved in legal

19      education. Doc. 48 at 9, 15. As for-profit institutions, investors, not students, are top-of-
20      mind. Id. at 9. Infilaw touts itself as serving the underserved (i.e., minorities), but in
21

22

23
        1
          On October 23, 2017, the court entered an order permitting Bernier to serve an opposition to Defendants’
24      motion to dismiss the complaint that may be up to twenty-five pages in length. Cf. M.D. Fla. R. 3.01(d)
        (allowing twenty pages for opposition briefs). Bernier filed an amended complaint that mooted the initial
        motion to dismiss; however, the undersigned assumes the court’s leave to serve an opposition up to twenty-
25
        five pages in length applies equally to the motion to dismiss the amended complaint.



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        reality, Infilaw takes advantage of the underserved for a handsome profit. Id. at 10.

3       Infilaw owns several law schools, including CSOL. Id. at 11.

4              CSOL gained provisional accreditation from the American Bar Association

5       (“ABA”) in 2008 and full accreditation in 2011. Id. at 16. After full accreditation, CSOL

6       was eligible to participate in the United States Department of Education’s (the “DOE”)
7       student loan programs, implemented under Title IV of the Higher Education Act (“Title
8
        IV”), 20 U.S.C. § 1070, et seq., and thereafter entered into an initial Program
9
        Participation Agreement (“PPA”) with the DOE in exchange for distribution of federal
10
        financial aid under Title IV. Id. After attaining full accreditation, CSOL, controlled by
11
        Infilaw, began intentionally and recklessly admitting academically underqualified
12
        students and repeatedly retained students who should have otherwise been dismissed for
13
        lack of satisfactory progress. Doc. 48 at 17.
14
               CSOL hired Bernier as a professor of law on January 1, 2013. Id. at 2. In this
15

16      capacity, CSOL required Bernier to directly engage in various departments, including,

17      but not limited to, CSOL’s financial aid and admissions departments. Id. Bernier’s role

18      essentially morphed into a quasi-administrative/faculty role because she was exposed to

19      many of CSOL’s policies and procedures, which was atypical for a law school professor.
20      Id. Indeed, Bernier gained intimate knowledge as to many of Defendants’ programs,
21
        including, but not limited to, CSOL’s for-profit marketing and recruiting functions, trust
22
        accounting, and manipulation of its bar exam and employment statics. Id. at 10, 18, 21.
23
               CSOL entered into the initial PPA and made subsequent re-certifications of same
24
        with deliberate ignorance or reckless disregard for CSOL’s contractual, statutory, and
25




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        regulatory duties and obligations under Title IV. Doc. 48 at 35–38. To be sure, despite

3       the PPA, CSOL failed to maintain accreditation standards set by the ABA and engaged in

4       practices that violate the incentive compensation ban that is prohibited by Title IV. Id. at

5       5, 19, 20, 35–38. CSOL also awarded gift aids to students, but deliberately failed to

6       deduct the amount of those gift aids from financial aid that it received from the DOE. Id.
7       at 22. The CSOL Dean manipulated the grading structure at the school so that CSOL
8
        could represent to the DOE that certain students were making satisfactory academic
9
        progress and present financial aid claims to the Government for payment. Id. at 23.
10
        CSOL also effectively changed students’ grades by deleting them altogether and allowing
11
        certain students in a sense to “start over” at law school and, of course, borrow more
12
        federal student aid from the Government. Id. at 25. Predictably, this led to financial
13
        disaster for students who received crushing amounts of non-dischargeable debt. Id. at 15.
14
               The abuses do not end here. CSOL also manipulated employment statistics and
15

16      Bar exam passage rates, in a carefully built mouse-trap designed to mislead prospective

17      students and cause them to enroll at CSOL. Id. at 28. The formula was elementary:

18      more students, more money. Upon CSOL receiving federal student aid from the DOE,

19      Infilaw routinely raided CSOL’s trust account and deplete all funds for its own use, only
20      to return the funds on the eve of mandatory distributions due to students. Doc. 48 at 14.
21
               Bernier met with the Government in April 2016, and during this meeting she
22
        voluntarily disclosed the facts underlying this lawsuit. Id. at 11. Bernier, at that time,
23
        also served the requisite written disclosure on the Government, as required by the FCA,
24
        which contained a list of over ten witnesses and documents to support the allegations in
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        the disclosure. Id. Bernier filed suit in June 2016, under seal. Doc. 1. The Government

3       launched an investigation into Bernier’s claims and interviewed witnesses identified by

4       Bernier. In December 2016, the DOE stripped CSOL of the ability to continue to

5       participate in Title IV programs when it became aware of CSOL’s failure to satisfy

6       conditions of payment. Doc. 48 at 39. The DOE also found that CSOL was out of
7       compliance with ABA standards and that the noncompliance was both “substantial” and
8
        “persistent.” Id. Compounding matters further, the DOE found that CSOL made
9
        “substantial misrepresentations” regarding the nature of its academic programs. Id.
10
                Bernier filed an amended complaint in November 2017. Doc. 48. On December
11
        4, 2017, Defendants filed the motion to dismiss. Doc. 53. Defendants’ arguments for
12
        dismissal are that (1) the amended complaint fails to show that Bernier has knowledge of
13
        the alleged fraud; (2) the allegations are barred by the FCA’s public disclosure bar; (3)
14
        the amended complaint fails to comport with Rules 8(a) and 9(b); and (4) the FCA
15

16      conspiracy claims is barred by the intra-corporate doctrine. See id.

17      III.    LEGAL STANDARD

18              The Rule 12(b)(6) dismissal standard is well known to this court. Simply put,

19      “[d]ismissal for failure to state a claim is appropriate if the facts as pleaded fail to state a
20      claim for relief that is ‘plausible on its face.’” Hunafa v. Schaeffer, No. 8:11-cv-1419-T-
21
        30AEP, 2011 WL 3627691, at *1 (M.D. Fla. June 29, 2011) (internal citations omitted).
22
        In the context of FCA claims, a complaint must satisfy the same Rule 8 pleading
23
        requirements that are required in any other federal case. Rule 8 demands only that a
24
        complaint contain “a short and plain statement of the claim showing that the pleader is
25




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        entitled to relief.” Fed. R. Civ. P. 8(a)(2). Because FCA claims sound in fraud, FCA

3       plaintiffs must also plead allegations that satisfy Rule 9(b). United States ex rel. Clausen

4       v. Lab. Corp. of Am., 290 F.3d 1301, 1310 (11th Cir. 2002) (recognizing that a FCA

5       action must state with particularity the circumstances constituting fraud). Generally, to

6       plead a false claim with particularity, “a Relator must identify the particular document[s]
7       and statement[s] alleged to be false, who made or used it, when the statement was made,
8
        how the statement was false, and what the defendants obtained as a result.” United States
9
        ex rel. Matheny v. Medco Health Sol., Inc., 671 F.3d 1217, 1225 (11th Cir. 2012).
10
        IV.    ARGUMENTS AND AUTHORITIES
11
               A.      The Amended Complaint Satisfies Both Rules 8(a) and 9(b) Because It
12                     Pleads All Requisite FCA Elements Under The Implied False
                       Certification Theory Recognized By Escobar.
13
               The FCA permits private persons, known as relators, to file civil actions in federal
14
        court, known as qui tam actions, to recover damages on behalf of the United States from
15

16      any person who “knowingly presents, or causes to be presented, to an officer of employee

17      of the United States Government . . . a false or fraudulent claim for payment or approval;

18      knowingly makes, uses, or causes to be made or used, a false record or statement to get a

19      false or fraudulent claim paid or approved by the Government; [or] conspires” to present
20      false claims or records to the Government. 31 U.S.C. § 3729(a)(1).
21
               Relators may establish FCA liability under any of several theories, including the
22
        express false certification theory, United States ex rel. Lobel v. Express Scripts, Inc., 351
23
        Fed. Appx. 778, 779 (3d Cir. 2009); the implied false certification theory, United States
24
        v. Everglades Coll., Inc., 855 F.3d 1279, 1283 (11th Cir. 2017); and the fraud by
25




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        inducement theory, United States ex rel. Hendow v. Univ. of Phoenix, 461 F.3d 1166,

3       1173 (9th Cir. 2006). No matter the theory under which a FCA plaintiff hauls a

4       defendant into federal court, all FCA actions share the same essential elements: (1) a

5       false or fraudulent claim; (2) which was presented, or caused to be presented, by the

6       defendant to the United States for payment or approval; (3) with the knowledge that the
7       claim was false. See United States ex rel., Kaimowitz v. Ansley, 250 F. App’x. 912, 915
8
        (11th Cir. 2007). The amended complaint sufficiently alleges all three elements under
9
        both Rules 8(a) and 9(b), under an implied false certification theory.
10
               Until last year, the circuit courts were split as to whether the implied certification
11
        theory can be a basis for FCA liability. And even the circuit courts that adopted the
12
        theory disagreed about the extent to which it can give rise to FCA liability. The Seventh
13
        Circuit, United States ex rel. Nelson v. Sanford-Brown Ltd., 788 F.3d 696 (7th Cir. 2015),
14
        rejected the implied certification theory altogether, reasoning that only express false
15

16      statements can render a claim “false or fraudulent” under the FCA. Other circuits such as

17      the Second accepted the theory, United States ex rel. Mikes v. Straus, 274 F.3d 687, 700

18      (2d Cir. 2001), but limited its application to FCA claims where defendants failed to

19      disclose violations of expressly designated conditions of payment. Finally, some circuits,
20      such as the District of Columbia Circuit, United States v. Sci. Apps. Int’l Corp., 626 F.3d
21
        1257, 1271 (D.C. Cir. 2010), adopted an even broader approach, holding that FCA claims
22
        can proceed under the implied false certification theory so long as the claims are based on
23
        a defendant’s alleged non-compliance with a contractual or statutory provisions or
24

25




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        regulations that are material to the Government’s payment decision, regardless of

3       whether the violations were expressly designated as conditions of payment.

4              The Supreme Court resolved the circuit split in June 2016, Universal Health

5       Servs., Inc. v. United States ex rel. Escobar, 136 S. Ct. 1989 (2016), and opined on the

6       validity and scope of the implied false certification theory. Escobar, which is binding
7       authority on this court, holds that (1) the implied false certification theory can provide a
8
        basis for FCA liability, thereby abrogating Sanford–Brown, Ltd. and its progeny from the
9
        Seventh Circuit (cases on which Defendants’ papers rely heavily) and (2) the FCA does
10
        not limit liability only to instances where a defendant fails to disclose a violation of a
11
        contractual, statutory, or regulatory provision that the Government expressly designated a
12
        condition of payment, also abrogating Straus and its progeny from the Second Circuit.
13
        Effectively, Escobar adopted the District of Columbia Circuit’s broad approach.
14
               Escobar changed the landscape of FCA liability with respect to the implied false
15

16      certification theory, and the law is now established that when a defendant submits a claim

17      to the Government, the defendant impliedly certifies compliance with all conditions of

18      payment. Escobar, 136 S. Ct. at 1999. So said the Escobar Court:

19                     Specifically, liability can attach when the defendant submits a
                       claim for payment that makes specific representations about the
20                     goods or services provided, but knowingly fails to disclose the
                       defendant’s noncompliance with a statutory, regulatory, or
21
                       contractual requirement. In these circumstances, liability may
22
                       attach if the omission renders those representations misleading.

23                     We further hold that False Claims Act liability for failing to
                       disclose violations of legal requirements does not turn upon
24                     whether those requirements were expressly designated as
                       conditions of payment. Defendants can be liable for violating
25                     requirements even if they were not expressly designated as



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                        conditions of payment. Conversely, even when a requirement is
                        expressly designated a condition of payment, not every violation of
3                       such a requirement gives rise to liability. What matters is not the
                        label the Government attaches to a requirement, but whether the
4                       defendant knowingly violated a requirement that the defendant
                        knows is material to the Government's payment decision.
5
        Escobar, 136 S. Ct. at 1995–96.
6
               Significantly, post-Escobar, federal courts have applied the implied false
7
        certification theory to claims, as here, that are based on alleged violations of Title IV.
8

9
        See, e.g., United States ex rel. Laporte v. Premiere Educ. Group, L.P., No. cv 11-3523

10      (RBK/AMD), 2017 WL 3471163, at *2 (D.N.J. Aug. 11, 2017) (applying the Escobar

11      materiality standard to alleged Title IV violations); Rose v. Stephens Inst., No. 09-cv-

12      05966-PJH, 2016 WL 5076214, at *5 (N.D. Cal. Sept. 20, 2016) (discussing, at length,

13      whether the Title IV incentive compensation ban is material under Escobar); United
14
        States v. Beauty Basics Inc., No. 2:13-cv-1989-VEH, 2016 WL 3519365, at *3 (N.D. Ala.
15
        June 28, 2016) (finding that pleading at issue did not contain sufficient factual matter
16
        about “specific representations about the goods or services provided”). Nowhere in the
17
        motion to dismiss do Defendants brief this post-Escobar Title IV case law.
18
                      i.   The amended complaint adequately alleged a false or fraudulent claim
19                         because financial aid requests are contained with the FCA’s definition
                           of “claim”.
20
               The first of the three FCA elements is satisfied when a FCA plaintiff adequately
21

22
        alleges a false or fraudulent claim. A “claim” includes direct requests for payment by the

23      Government as well as reimbursement requests made to the recipients of federal funds

24      under a federal benefits program. 31 U.S.C. § 3729(b)(2)(A). CSOL, through entry of its

25      PPAs, and re-certifications of its obligations in same, submitted false information and



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         records for certifications of compliance with Title IV and its implementing regulations.

3        These submissions to the Government represented that CSOL had complied with all

4        federal requirements for Title IV funding. CSOL, however, violated Title IV by

5        providing faculty members with incentive-based compensation for enrollment activities,

6        Doc. 48 at 72, 118; admitted academically underqualified students at the law school, id.
7        at 58, 118, altered the CSOL student handbook with respect to minimum GPA
8
         requirements and then certified to the Government that those students were making
9
         satisfactory academic progress and had a reasonable expectation of graduating, id. at 83,
10
         118; and manipulated Bar exam and employment statistics, which was materially
11
         misleading in light of students and potential students’ ability to evaluate the truthfulness
12
         of CSOL’s advertisements concerning same, id. at 28.
13
                       ii.   Defendants’ presented a false claim to the Government by seeking
14
                             payment from the DOE.
15
                 The second of the three FCA elements is satisfied when a FCA plaintiff
16
         adequately alleges presentment of a false or fraudulent claim to the Government for
17
         payment or approval. As stated above, Defendants made false certifications and annual
18
         re-certifications to the Government that they complied with Title IV and its implementing
19
         regulations as a condition for payment for federal funding, which necessarily included,
20
         inter alia, implied compliance with ABA standards and avoidance of the incentive
21

22
         compensation ban. E.g., Doc. 48 at 35. That CSOL failed to disclose noncompliance

23       with conditions of payment made its representations to the Government misleading half-

24       truths, as taught by Escobar. The Government, after being presented with CSOL’s

25       certifications that its students met financial aid eligibility criteria actually paid those



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         claims to CSOL, in excess of $285,000,000.00, as alleged in the amended complaint.

3        Doc. 48 at 39. Defendants argue that the amended complaint fails to establish

4        presentment of a false claim, but noticeably, Defendants are willfully blind to the

5        allegations in the amended complaint showing how CSOL repeatedly manipulated GPA

6        criteria in its student handbook so as to allow students who should have otherwise been
7        academically dismissed to remain at CSOL and be recertified by CSOL to the
8
         Government as making satisfactory academic progress. Id. at 23. The amended
9
         complaint establishes presentment.
10
                     iii.   Defendants’ presented false claims to the Government with knowledge
11                          that they were in violation of contractual, statutory, or regulatory
                            conditions and that these violations were material to the Government’s
12                          decision to pay the claim.

13              The final FCA element is satisfied when a FCA plaintiff adequately alleges that
14
         the defendant “knowingly” presented the claim to the Government for payment or
15
         approval. It is through this element where a court must test whether the FCA complaint
16
         shows the requisite scienter to support a FCA claim. “Rule 9(b) provides that a party
17
         alleging fraud ‘must state with particularity the circumstances constituting fraud’ but may
18
         allege scienter generally.” Urquilla-Diaz v. Kaplan Univ., 780 F.3d 1039, 1051 (11th
19
         Cir. 2015) (recognizing that FCA scienter requirement does not require “specific intent”).
20
                “For liability to attach, the relator must show that the defendant acted
21

22
         ‘knowingly,’ which the [FCA] defines as either ‘actual knowledge,’ ‘deliberate

23       ignorance,’ or ‘reckless disregard.’” Id. at 1058. Congress added the “reckless

24       disregard” provision to the FCA in 1986, and the addition was designed to capture “the

25       ‘ostrich’ type situation where an individual has ‘buried his head in the sand’ and failed to



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         make simple inquiries which would alert him that false claims are being submitted.” S.

3        Rep. 99–345, at 21, reprinted in 1986 U.S.C.C.A.N. 5266, 5286.

4               Post-Escobar, federal courts have acknowledged that “[e]stablishing knowledge .

5        . . on the basis of implied certification requires the plaintiff to prove that the defendant

6        knows (1) that it violated a contractual obligation, and (2) that its compliance with that
7        obligation was material to the government’s decision to pay.” United States v. DynCorp
8
         Int’l, LLC, 253 F. Supp. 3d 89, 102–03 (D.D.C. 2017) (finding that FCA complaint
9
         adequately alleged knowledge under the implied certification theory) (citing United
10
         States v. Sci. Applications Intern. Corp., 626 F.3d 1257, 1271 (D.C. Cir. 2010)).
11
         “[A]ctual knowledge possessed by individual company employees” or a conclusion that
12
         “the company acted recklessly” based on “the actions of employees or [the company’s]
13
         systems and structure” is sufficient, under the implied false certification theory, to satisfy
14
         the knowledge requirement. Sci. Applications Intern. Corp., 626 F.3d at 1276.
15

16              Defendants’ dismissal argument commences with a statement that is flatly

17       contradicted by the amended complaint. Compare Doc. 53 at 20 with Doc. 48 at 34–40.

18       As best understood by Defendants, “Bernier does not allege a single fact about . . . [their]

19       knowledge or intent when the PPA was executed.” Doc. 53 at 20. Not so. Bernier
20       alleges that CSOL entered into the PPA with deliberate indifference or reckless disregard,
21
         and then Bernier alleges, through more than at least 10 paragraphs, the ultimate facts
22
         underlying this allegation. E.g., Doc. 48 at 34–40. Defendants’ misguided statement,
23
         coupled with the authorities cited in support of the statement, shows that Defendants are
24
         arguing that “knowledge” for purposes of the FCA can only be based on “personal, first-
25




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         hand knowledge” regarding an institution’s entry into a PPA. Doc. 53 at 20. So the

3        argument goes, according to Defendants, FCA liability can only attach when a relator

4        was employed by the institution when the institution executed the PPA.2 Defendants’

5        argument confuses the implied false certification theory upon which the amended

6        complaint is based with other FCA theories that may require direct, personal knowledge
7        of fraud. The undersigned’s research has not revealed, nor have Defendants cited, any
8
         law in the context of the implied certification theory where a court required a relator to
9
         have the type of knowledge that Defendants urge this court to require of Bernier.
10
                  In fact, the cases on which Defendants rely, Doc. 53 at 20–21, are inapposite and
11
         are neither controlling nor persuasive. Some of the cases are clearly not implied
12
         certification cases at all, and therefore, offer no support whatsoever for dismissal. See
13
         United States ex rel. Mastej v. Health Mgmt. Associates, Inc., 591 F. App’x. 693, n19
14
         (11th Cir. 2014) (“Given that this case involves an express certification of compliance in
15

16       the hospital cost reports, we need not and do not express any opinion on the required

17       elements of any “implied certification” theory in FCA cases.”).

18                Other cases, e.g., Jallali v. Nova Se. Univ., Inc., 486 F. App’x. 765, 766 (11th Cir.

19       2012), fare no better because even minimal scrutiny of those cases reveal that they are
20

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         2
           Conceptually, this rationale makes little sense. Under Defendants’ logic, if all relators must be physically
23       present at an institution’s entry into a PPA and have “personal, first-hand knowledge” of the institution’s
         state of mind at that time, then institutions could escape FCA liability for Title IV violations as soon as the
24       PPA “outlives” all persons who were present at that time. Imagine the fictitious “Acme University,” who
         enters into a PPA with the DOE in 1985. Surely Defendants do not suggest that in, for example, 2085, it
         would be impossible for Acme University to ever be liable for a FCA claim simply because any persons
25
         who would otherwise have “personal, first-hand knowledge” of the initial 1985 PPA were then deceased.



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         factually distinct from Bernier’s allegations. For example, the Jallali court affirmed

3        dismissal of a FCA complaint because the relator there, a student, did not allege that he

4        had any knowledge of the defendants’ billing practices. Id. Here, Bernier was personally

5        involved in faculty meetings and physically present when CSOL Dean Conison

6        unilaterally made the decision to downwardly adjust the minimum student GPA and then
7        certify such students as allegedly in compliance with financial aid guidelines. Doc. 48 at
8
         23–24. Nothing about this exercise was innocent, demonstrated by Conison’s assertions
9
         that Infilaw thought it “unacceptable” to fail so many students (who otherwise, should
10
         have failed) and Infilaw “could not tolerate the financial loss or harm to its reputation.”
11
         Id. CSOL then did, in fact, certify the failing students and CSOL did, in fact, receive
12
         federal student aid that should not have been paid by the Government. See id. All of this
13
         is very different from the student in Jallali who had no knowledge of the defendant’s
14
         billing practices. By contrast, Bernier gained her knowledge, inter alia, during faculty
15

16       meetings that she attended. Doc. 48 at 23–24. What is more, unlike the Jallali relator,

17       Bernier’s amended complaint has allegations focused solely on her knowledge of fraud.

18              The amended complaint alleges that CSOL entered into the initial PPA with

19       deliberate ignorance or reckless disregard to comply with Title IV and its implementing
20       regulations. Doc. 48 at 35, 41, 43. Defendants take issue with this allegation, but Bernier
21
         is not required to have direct and specific knowledge of CSOL’s mindset when it entered
22
         into the initial PPA because intent for purposes of fraud may be alleged generally, see
23
         Fed. R. Civ. P. 9(b), and federal courts in Title IV cases routinely recognize that post-
24
         PPA conduct is sufficient to draw the inference that an academic institution never
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         intended to comply with the conditions in the initial PPA. See, e.g., United States ex rel.

3        Miller v. Weston Educ., Inc., No. 4:11-cv-00112-NKL, 2012 WL 6190307, at *5 (W.D.

4        Mo. Dec. 12, 2012) (denying motion to dismiss FCA claim premised on Title IV

5        violations because general allegation that academic institution defrauded the government

6        by entering into initial PPA was sufficient to state claim).
7                 In Miller, two relators made allegations of FCA liability against an academic
8
         institution based on conduct that, as here, both pre-dated and post-dated the initial PPA.3
9
         Id. The Miller court found it significant that the complaint alleged “widespread [Title
10
         IV] violations” because the allegations evinced that the institution “knowingly” violated
11
         the conditions in the PPA to which it agreed to comply. Id. Indeed, the allegations in
12
         Miller are strikingly similar to those in this action. There, relators alleged that, inter alia,
13
         (i) the institution concocted a system to manipulate students’ grades and thereby retain as
14
         many students as possible in an effort to receive increased Title IV funding from the
15

16       government (like, Doc. 48 at 74–84); (ii) the institution had plans in place to stop any

17       student transfers, which would otherwise cause a decrease in Title IV funding (like, Doc.

18       48 at 40, 46); (iii) allowed students to pursue degrees when they had certain attributes

19       that would make them improbable candidates for employment (like, Doc. 48 at 68–71),
20       and (iv) allowed students to remain enrolled at the institution even when they failed to
21

22

23

24
         3
          Defendants cite to the Miller circuit opinion and argue that the relators established “pre- and post-PPA
         activity” and demonstrated “firsthand knowledge.” Doc. 53 at 22. This generalized statement lacks an
         appreciation for the facts found by the Miller district court below, whose findings, as discussed infra were
25
         based on inferences and circumstantial evidence, not direct knowledge.



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         achieve satisfactory academic progress (like, Doc. 48 at 25, 35).4 Here, the allegations in

3        the amended complaint are substantively no different from the types of inferences that the

4        Miller court found sufficient to state a claim under the FCA.

5                 It should also be noted that the Miller cases undercut Defendants’ argument that

6        because Bernier was not a CSOL employee when CSOL entered into the initial PPA that
7        she cannot, as a matter of law, state a Title IV FCA claim. As stated above, Miller
8
         involved two relators, one of whom was employed by the academic institution from 2006
9
         through 2011 (Relator Miller) and the other for five months in 2010 (Relator Sillman).
10
         United States ex rel. Miller v. Weston Educ., Inc., 10 F. Supp. 3d 1046, 1051 (W.D. Mo.
11
         2014), aff’d in part, rev’d in part and remanded, 784 F.3d 1198 (8th Cir. 2015), cert.
12
         granted, judgment vacated, 136 S. Ct. 2505 (2016), and aff’d in part, rev’d in part and
13
         remanded sub nom. United States ex rel. Miller v. Weston Educ., Inc., 840 F.3d 494 (8th
14
         Cir. 2016). The institution employed Relator Sillman years after it entered into the initial
15

16       PPA, and the Miller court took no issue with Relator Sillman’s allegations of FCA

17       liability based on the institution’s entry into the initial PPA.

18                For purposes of the amended complaint in this case, the court need only determine

19       whether Bernier’s allegations plead that Defendants knowingly violated a contractual,
20       statutory, or regulatory obligation, and that their compliance with that obligation was
21
         material to the Government’s decision to pay. DynCorp Int’l, LLC, 253 F. Supp. 3d at
22

23

24       4
          These allegations do not expressly appear in the Miller opinion; instead, the opinion cites to them in the
         complaint underlying that action, which appears at Document Entry 8. See U.S. ex rel. Miller, 2012 WL
25
         6190307 at *5 (citing to “Doc. # 8 at 22–23, 35–36, 46, 49”).



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         102–03. Here, the PPA required CSOL to represent that it was in compliance with Title

3        IV’s incentive based compensation ban; was in compliance with the ABA’s accreditation

4        standards; and not make substantial misrepresentations to prospective applicants about

5        the nature of the institution’s educational programs or the employability of its graduates.

6        Doc. 48 at 35–37. These regulatory violations have already been addressed by federal
7        courts in Title IV cases. See, e.g., United States v. Premier Educ. Group, L.P., No. 11-
8
         3523 (RBK/AMD), 2016 WL 2747195, at *14 (D.N.J. May 11, 2016), motion to certify
9
         appeal denied sub nom. United States ex rel. Laporte v. Premiere Educ. Group, L.P., No.
10
         11-3523 (RBK/AMD), 2017 WL 3471163 (D.N.J. Aug. 11, 2017).
11
                Significantly, within months of Bernier’s disclosures to the Government, the DOE
12
         cut-off CSOL’s ability to obtain federal student aid. So, Defendants, out-of-the-gate, are
13
         hard-pressed to genuinely argue that the Government would have continued disbursing
14
         financial aid to CSOL had the Government not become aware of the scheme alleged in
15

16       the amended complaint. The undeniable fact is that the Government actually terminated

17       CSOL’s financial aid for the very reasons alleged in the amended complaint, noting that

18       CSOL was severely out-of-compliance with the applicable ABA accreditation standards.

19       Doc. 48 at 39. Thus, CSOL’s compliance with not only the PPA, but also associated
20       statutory and regulatory provisions was clearly material to the Government’s decision to
21
         pay because the Government stopped paying when it knew of the noncompliance.
22
                B.      The Public Disclosure Bar Does Not Apply Because The Extrinsic
23                      Evidence Defendants Injected Into This Action Is Not “News Media,”
                        As Contemplated By The FCA, And In Any Event, Bernier Is An
24                      Original Source.

25




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                Even where a FCA violation is properly alleged, liability may be cut-off if the

3        FCA complaint relies on information that has been publicly disclosed in “(i) a criminal,

4        civil, or administrative hearing, (ii) in a congressional, administrative, or Government

5        Accounting Office report, hearing, audit, or investigation, or (iii) from the news media”

6        unless the FCA plaintiff is an original source. See 31 U.S.C. § 3730(e)(4)(A). Thus,
7        under the public disclosure bar analysis, the court must first determine whether the
8
         information was disclosed via any of the sources codified in Section 3730(e)(4)(A), and if
9
         so, whether the complaint is based on any of the sources. E.g., United States ex rel.
10
         Atkinson v. PA. Shipbuilding Co., 473 F.3d 506, 519 (3d Cir. 2007).
11
                        i. Many of the exhibits attached to the motion to dismiss are blogs,
12                         which are not news media, and the balance of the exhibits disclose
                           generalized facts that do not rise to the level of fraud on which the
13                         amended complaint is based.
14
                With respect to the first portion of the public disclosure bar analysis, the court
15
         need not go far because the motion to dismiss makes clear that Defendants rely solely on
16
         alleged public disclosure through “news media.” See Doc. 53 at 26–36. Indeed,
17
         Defendants’ attack on the amended complaint is based on a litany of twenty-seven
18
         exhibits. See Docs. 53-1–53-27. As an initial matter, the court should reject all of the
19
         exhibits because they are merely attached to the motion to dismiss; they are neither
20
         authenticated nor supported through an affidavit or declaration on Defendants’ behalf.
21

22
         See SFM Holdings, Ltd. v. Banc of Am. Sec., LLC, 600 F.3d 1334, 1337 (11th Cir. 2010)

23       (concluding that in ruling on a motion to dismiss, a court may consider an extrinsic

24       document if it is central to the plaintiff’s claim and its authenticity is not challenged)

25       (citing Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005)); see also United States ex



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         rel. Osheroff v. Humana Inc., 776 F.3d 805, 811 (11th Cir. 2015) (finding that in addition

3        to testimony and affidavits, a court may consider judicially noticed documents). Here,

4        Bernier challenges authenticity and Defendants have made no motion to this court for

5        judicial notice. Assuming, arguendo, that the exhibits were otherwise properly

6        authenticated, they are still problematic. As a matter of statutory law, the only way the
7        court can apply the public disclosure bar here is to determine that the exhibits are, in fact,
8
         subsumed within the FCA’s legal definition of “news media.” They are not.
9
                Defendants make no real effort to define the contours of the news media
10
         exception, other than through generalized and unsubstantiated legal conclusions that the
11
         news media exception is “broad sweeping.” Doc. 53 at 26. Though the exception may
12
         be “broad sweeping,” Osheroff, 776 F.3d at 813, the exception is not unlimited, as
13
         Defendants appear to argue. In Osheroff, a case heavily relied on by Defendants, the
14
         Eleventh Circuit acknowledged that it has not considered the full extent of “news media”
15

16       as used in the FCA. Id. The Osheroff court went on, nonetheless, to affirm the district

17       court’s finding that certain newspaper articles in the Miami Herald and the defendants’

18       own websites qualified as news media in that case. Id. Importantly, Osheroff does not

19       hold, as Defendants claim, Doc. 53 at 26, that all publicly available websites qualify as
20       news media. See id. In fact, the only websites at issue in Osheroff was the defendants’
21
         own websites not, as here, a host of Internet sources from various third parties that
22
         Defendants attempt to piece together to qualify as news media. Id.
23
                With the rise of the Internet, federal courts have been forced to confront precisely
24
         what information qualifies as news media. See, e.g., United States ex rel. Brown v. Walt
25




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         Disney World Co., No. 6:06-cv-1943, 2008 WL 2561975 (M.D. Fla. 2008), aff’d, 361 F.

3        App’x 66 (11th Cir. 2010) (finding that allegations disclosed in newspaper articles, court

4        opinions, and government websites constituted a public disclosure, but not reaching

5        question whether a book constituted news media).

6               Courts have held that information on the Internet that is not curated or that does
7        not have the same indicia of reliability as news sites, are not news media. E.g., United
8
         States ex rel. Moore & Company, P.A. v. Majestic Blue Fisheries, LLC, 69 F. Supp. 3d
9
         416, 425 (D. Del. 2014), rev’d and remanded on other grounds, 812 F.3d 294 (3d Cir.
10
         2016) (concluding that certain web postings on community forum did not constitute news
11
         media, nor did blog postings); United States ex rel. Simpson v. Bayer Corp., No. 05-3895,
12
         2013 WL 4710587 (D.N.J. 2013) (concluding that postings on “cafepharma” did not
13
         constitute news media as the character and substance of the postings were more akin to
14
         an informal message board and web forum and not geared toward dissemination of
15

16       news); abrogated on other grounds by United States ex rel. Petratos v. Genentech Inc.,

17       855 F.3d 481 (3d Cir. 2017); United States ex rel. Colquitt v. Abbott Laboratories, 864 F.

18       Supp. 2d 499, 518 (N.D. Tex. 2012) (finding that scholarly periodicals sufficiently

19       similar to newspapers to constitute news media and advertisements in such periodicals
20       are “‘from the news media’” although not inclined to conclude that “in the age of
21
         basement blogging and ease of publishing, any medium that disseminates information to
22
         the public in a periodic manner is part of the ‘news media’”); United States ex rel. Liotine
23
         v. CDW Government, Inc., No. 05-33, 2009 WL 3156704, *6 (S.D. Ill. 2009) (declining
24
         to treat university newsletter as news media, even though available on Internet); United
25




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2
         States ex rel. Radcliffe v. Purdue Pharma, L.P., 582 F. Supp. 2d 766 (W.D. Va. 2008),

3        rev’d in part on other grounds, 600 F.3d 319 (4th Cir. 2010) (declining to conclude that

4        everything posted online constitutes public disclosure).

5               Applying the foregoing authorities to the extrinsic evidence submitted by

6        Defendants reveals that the court must summarily ignore at least nine exhibits because
7        they are nothing more than blog postings (Exhibits 3, 4, 5, 6, 14, 17, 22, and 24), which
8
         federal courts have found are not news media. Majestic Blue Fisheries, 69 F. Supp. 3d at
9
         425, rev’d in part on other grounds (“Similarly, the blog postings (e.g., BitterEnd blog
10
         and Sea Fever blog) are not ‘news media.’”). Similarly, CSOL’s own newsletter (Exhibit
11
         26) is not news media. CDW Government, Inc., 2009 WL 3156704 at *6. Because
12
         Exhibits 3, 4, 5, 6, 14, 17, 22, 24, and 26 are not cognizable “news media,” this court
13
         cannot consider them in the public disclosure bar analysis.
14
                The remaining exhibits fare no better, as they, too, are either not news media nor
15

16       do they report information upon which the amended complaint is not based. To be

17       properly considered “based upon” publicly disclosed allegations, a complaint must be

18       substantially similar to the disclosed allegations. See United States ex rel. Mistick v.

19       Housing Auth. of the City of Pittsburgh, 186 F.3d 376 (3d Cir. 1999). The balance of
20       Defendants’ exhibits can be summed up as follows. They generally discuss (i) the
21
         problematic financial structure of higher education (Exhibit 1); (ii) the admissions
22
         standards at Infilaw’s law schools (Exhibit 1); (iii) that the American Bar Association
23
         should do more to regulate Infilaw’s law schools (Exhibits 1, 2); (iv) the Bar exam
24
         passage rates at Infilaw’s law schools (Exhibits 2, 7, 18, 19); (v) that the job market is not
25




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2
         good for newly minted lawyers, nor CSOL graduates (Exhibit 8, 19, 20, 21); (vi)

3        allegations at Arizona Summit School of Law, who is not a party to this suit (Exhibits 9,

4        10, 13, 15, 16, 23); (vii) student recruitment goals (Exhibit 11); (viii) that CSOL

5        allegedly serves the underserved (Exhibit 12); (ix) CSOL alumni’s skepticism of Infilaw

6        purchasing CSOL (Exhibit 25); and (x) CSOL’s Haiti program (Exhibit 27).
7                To determine whether the amended complaint is “based upon” the remaining
8
         Exhibits 1, 2, 7, 8, 9, 10, 11, 12, 13, 15, 16, 18, 19, 20, 21, 23, 25, and 27, the court must
9
         “address each of [Bernier’s] claims separately.” Premier Educ. Group, L.P., 2016 WL
10
         2747195, at *9. The Premier Educ. Group, L.P. court conducted a similar analysis in a
11
         Title IV case, and determined that when reviewing the publicly disclosed information at
12
         issue there in light of the allegations of the complaint, it was clear that the allegations of
13
         the complaint “far exceed[ed]” the publicly disclosed information. The same is true here.
14
                 Indeed, Bernier’s allegations include a wealth of information that she learned as
15

16       an insider, which is not disclosed in any of Defendants’ exhibits. This additional

17       information includes, inter alia, Infilaw purposefully designed its first-year courses to

18       differ dramatically from other law schools, which was designed to prevent student

19       transfers, Doc. 48 at 12–13; Infilaw raided CSOL’s trust fund monies after distribution by
20       the DOE, id. at 14; CSOL admissions’ staff was rewarded for hitting recruitment
21
         numbers through unlawful incentive based commissions, id. at 19–20; use of unlawful
22
         “gift aids” by the CSOL financial aid office, id. at 21; unilateral changes the to the
23
         minimum student GPA so that CSOL could certify at least 65 students to the DOE as
24
         making “satisfactory academic progress” even though they had not done so, id. at 23;
25




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         changing students’ grades by improperly averaging them together, in hopes that the

3        average would yield a high enough GPA to have students apply, again, for federal

4        financial aid, id. at 24; implementing a re-entry program to delete academic records and

5        allow students to “start over” and effectively obtain an additional year of federal financial

6        aid, Doc. 48 at 25–26; allowing Veteran students to remain at CSOL even when they
7        should have been academically dismissed because this allowed CSOL to not run afoul the
8
         90/10 rule, id. at 28; telephoning CSOL graduates the night before the Bar exam to offer
9
         money to delay taking the Bar exam, which such practice was designed to manipulate Bar
10
         exam passage statistics, id. at 29; and improper inclusion of CSOL graduates into
11
         employment statistics, id. at 29. These allegations could not have been disclosed as news
12
         media because none of this information is contained in Exhibits 1, 2, 7, 8, 9, 10, 11, 12,
13
         13, 15, 16, 18, 19, 20, 21, 23, 25, and 27.
14
                To the extent that the court disagrees with the foregoing and adopts the view that
15

16       the amended complaint has similar allegations to any of the information in the exhibits, it

17       should also resort to the same analysis used by the Premier Educ. Group, L.P. court.

18       There, despite some tangential similarity between the disclosed information and the

19       complaint, nevertheless, the court found that the disclosed information “contain[ed] no
20       allegations regarding the specific scheme or the manner” in which fraud was committed,
21
         while the complaint “went into much detail about the alleged scheme.” Premier Educ.
22
         Group, L.P., 2016 WL 2747195, at *10. So, too, does Bernier’s amended complaint.
23
                        ii. Bernier is an original source because she gained independent
24                          knowledge of Defendants’ conduct through faculty meetings
                            and then voluntarily disclosed same to the Government.
25




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                To be an original source, the relator must have (1) conveyed the information to

3        the government prior to the public disclosure or (2) have independent knowledge that

4        materially adds to the publicly disclosed allegation and provided that information to the

5        government before filing the FCA action. See 31 U.S.C. § 3730(e)(4)(B).

6               As discussed above, because Bernier’s position is that none of the exhibits
7        attached to the motion to dismiss evince “public disclosure” within the meaning of the
8
         FCA, she qualifies as an original source under Section 3730(e)(4)(B) based on the
9
         disclosure that she voluntarily made to the Government in April 2016. See Doc. 48 at 11,
10
         15, 33, 39. And even if the court finds that any of the exhibits attached to the motion do
11
         demonstrate public disclosure; nonetheless, Bernier is still an original source because, as
12
         discussed above, she has independent knowledge that materially adds to the public
13
         disclosure in that Bernier’s disclosures far exceed any of the information in the exhibits.
14
                “In order to possess ‘independent knowledge,’ the relator must ‘have learned of
15

16       the allegation or transactions independently of the public disclosure.’” Bellevue v.

17       Universal Health Services of Hartgrove, Inc., 867 F.3d 712, 720 (7th Cir. 2017) (external

18       citation omitted); United States ex rel. Kolchinsky v. Moody’s Corp., 162 F. Supp. 3d

19       186, 194 (S.D.N.Y. 2016) (finding original source test established when relator was an
20       employee-insider who provided far more than background information of alleged fraud);
21
         United States ex rel. Hagerty v. Cyberonics, Inc., 95 F. Supp. 3d 240, 260 (D. Mass.
22
         2015), aff’d sub nom. Hagerty ex rel. United States v. Cyberonics, Inc., 844 F.3d 26 (1st
23
         Cir. 2016) (discussing original source exception at length, and finding “that there are
24
         some FCA complaints that are ‘substantially the same’ as a public disclosure under §
25




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         3730(e)(4)(A) but still ‘materially add [ ]’ to the disclosure under § 3730(e)(4)(B)”).

3               A relator “materially adds” to the prior public disclosure if he “materially

4        contributes anything of import to the public knowledge about the alleged fraud.”

5        Cyberonics, Inc., 95 F. Supp. 3d at 260. Bernier is an original source because even if the

6        court considers the exhibits attached to the motion as public disclosures, none of the
7        exhibits disclose the essential elements to a fraudulent scheme. The focus of the exhibits
8
         is on the greed of the for-profit educational model, in conjunction with CSOL’s abysmal
9
         statistics. See Docs. 53-1–53-27. The exhibits, unlike the amended complaint, do not
10
         show that Defendants intentionally manipulated student grades to certify students to the
11
         Government as having made satisfactory academic progress. See id. Defendants, in
12
         doing so, received approximately $285,000,000.00 from the Government for students
13
         whose ability to receive federal student aid should have been terminated. Doc. 48 at 39.
14
         This is fraud on the Government. See id.
15

16              C.      The Eleventh Circuit Has Not Foreclosed FCA Intra-Corporate
                        Conspiracy Claims And Defendants Rely On Case Law From The
17                      Antitrust Context.

18              To prove a FCA conspiracy, a relator must show: (1) the existence of an unlawful

19       agreement between defendants to get a false or fraudulent claim allowed or paid by [the
20       Government] and (2) at least one act performed in furtherance of that agreement. United
21
         States ex rel. Farmer v. City of Houston, 523 F.3d 333, 343 (5th Cir. 2008). Here, the
22
         amended complaint adequately pleads all conspiracy elements. See Doc. 48, 112-114,
23
         118. Bernier repeatedly makes clear that Infilaw, through its executives, had an unlawful
24
         agreement to conspire with CSOL, through its managerial employees to defraud the
25




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         government in order to obtain Title IV funding, in violation of 31 U.S.C. § 3729(a)(1)(b).

3        Id. Thus, Bernier has satisfied both requirements to impose FCA conspiracy liability.

4               Contrary to Defendants’ assertions that the intra-corporate conspiracy doctrine

5        provides a blanket prohibition for claims under Section 3729 (a)(1)(C) of the FCA, the

6        Supreme Court has explained that the doctrine provides that a liability for a conspiracy
7        “is not foreclosed merely because a parent and its subsidiaries are common ownership.”
8
         Copperweld Corp. v. Independence Tube Corp., 467 U.S. 752, 759 (1984) (emphasis
9
         added). While the Eleventh Circuit has not addressed whether the doctrine applies to bar
10
         an FCA conspiracy between a parent and its wholly-owned subsidiary, at least one court,
11
         United States v. President and Fellows of Harvard College, 323 F. Supp. 2d 151, 199 (D.
12
         Mass. 2004) (citing Cedric Kushner Promotions v. King, 533 US. 158, 166 (2001)), has
13
         noted that “it is questionable whether the doctrine would apply to an FCA case.”
14
                Allowing corporate co-conspirators immunity from FCA liability because they are
15

16       agents of a corporation defeats the purpose of the FCA. To be sure, in 2010, Congress

17       amended Section 3729(a)(1)(C) to state that liability can be imposed on any person who:

18       conspires to commit a violation of subparagraph (A), (B), (C), (D), (E) or (G). See 31

19       U.S.C. § 3729(a)(1)(C)(2017) (emphasis added) (amending 31 U.S.C. § 3729(a)(3). The
20       amendment to Section 3729(a)(3), now Section 3729 (a)(1)(C), was intended to correct
21
         the Supreme Court’s overly narrow interpretation of the statute’s language that any
22
         person who, “conspires to defraud the Government by getting a false or fraudulent claim
23
         allowed or paid.” Allison Engine Co. v. United States, ex. rel. Saunders, 553 U.S. 662
24
         (2008). Consequently, this court should deny dismissal of the FCA conspiracy claim.
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                WHEREFORE, Relator, BARBARA BERNIER, respectfully requests the entry

3        of an order denying the motion to dismiss the amended complaint, or alternatively,

4        granting leave to file a second amended complaint to correct any pleading deficiencies

5        identified by the court.

6
         DATED on December 22, 2017
7

8

9                                                   Respectfully submitted,
10
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2
                                     CERTIFICATE OF SERVICE

3                I HEREBY CERTIFY that on December 22, 2017, pursuant to Fed. R. Civ. P. 5, I
         electronically served the foregoing, via email, on the following lead counsel of record in
4        this proceeding:

5
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